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                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 Jeffrey W. Carpenter,                      §
                                            §
      Plaintiff,                            §
                                            §
 v.                                         §
                                            §     Civil Action No. 3:23-CV-00769-N
 Twin City Fire Insurance   Company,        §
                                            §         Jury Demand
      Defendant.                            §




                                   STIPULATION




                                       RECITALS

     WHEREAS, on March 9, 2023, Jeff Carpenter sued Twin City Fire Insurance
 Company in Dallas County Court at Law No. 3 (the "Lawsuit''), asserting a single
 cause of action: violation ofliability insurers' common-law Stowers duty. The Lawsuit
 sought this relief: judgment on the Stowers claim, non-monetary equitable relief
 including injunctive relief, damages that the Stowers violation prnximately caused,
 punitive damages, costs, prejudgment interest, and postjudgment interest.

     WHEREAS, on April 11, 2023, Twin City removed the Lawsuit to the United
 States District Court for the Northern District of Texas, Dallas Division, where it is
 currently pending under Civil Action No. 3:23-CV-00769-N.

     WHEREAS, the Lawsuit arises from an earlier jury verdict and judgment in favor
 of Jeff Carpenter in Dallas County Court at Law No. 5, Cause Number CC-08-2072-
 E, styled Jeffrey W. Carpenter u. Southwest Housing Development Company, Inc.,
 Southwest Housing Management Corporation, Inc. alhla and dlb/a Southwest
 Housing Management Company, Inc., Affordable Housing Construction, Inc., and
 Brian Potashnih (the "Prior Case").

      WHEREAS, the Final Judgment in the Prior Case is attached.
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      WHEREAS, the trial court in the Prior Case ordered turnover to Jeff Carpenter
  of the defendant-insureds'  Stowers claims against Twin City. It did so after all
  appeals were exhausted in the Prior Case.

     WHEREAS, the Turnover Order in the Prior Case is attached.

      WHEREAS, the elements of a Stowers claim are (1) the third party's claim against
  the insured is within the scope of coverage; (2) the settlement demand is within policy
  limits; (3) the tetms of the demand are 1'suchthat an ordinarily prudent insurer would
  accept it, considering the likelihood and degree of the insured's potential exposure to
  an excess judgment;" and (4) damages that the Stowets violation proximately caused.
  In re Farmers Tex. Cnty. Mut. Ins. Co., 621 S.W.2d 261, 267 (2021); Am. Physicians
  Ins. Exch. v. Garaia, 876 S.W.2d 842, 849 (Tex. 1994).

      WHEREAS, a February 2, 2024 order in the Lawsuit granted Twin City's motion
  to dismiss with prejudice the following requested relief: injunctive relief and punitive
  damages [ECF No. 50).

      WHEREAS, a March 4, 2024 order in the Lawsuit denied Twin City's motion for
  summary judgment on the issue of insurance coverage (1) under a policy exclusion
  for employment termination severance payments and (2) under a policy exclusion for
  salaries, wages, or bonuses except as a component of a back pay award [ECF No. 51).

     WHEREAS, based on current rulings in the Lawsuit, the following elements
  remain in the Lawsuit: (1) the third party's claim against the insured is within the
  scope of coverage; (2) the settlement demand is within policy limits; (3) the terms of
  the demand are "such that an ordinarily prudent insurer would accept it, considering
  the likelihood and degree of the insured's potential exposure to an excess judgment;"
  and (4) damages that the Stowers violation proximately caused.

                                      AGREEMENT

     NOW, THEREFORE,         Jeff Carpenter   and Twin City Fire Insurance      Company
  agree as follows.

                        Twin City Stipulation     and Admission

      Based on the foregoing, and to bring the Lawsuit proceedings more expeditiously
  to final and appealable judgment in the district court, Twin City stipulates and
  admits in Carpenter's favor on all remaining elements other than insurance coverage
  - i.e., all remaining elements other than "(l) the third party's claim against the
  insured is within the scope of coverage." Twin City stipulates and admits (2) Jeff
  Carpenter's settlement demand in the Prior Case was within policy limits; (3)
  assuming coverage arguendo, the terms of that demand were "such that an ordinarily

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 prudent insurer would accept it, considering the likelihood and degree of the insured's
 potential exposure to an excess judgment;" and (4) assuming coverage arguendo, the
 Stowers violation proximately caused the damages reflected in the attached Final
 Judgment but reduced as appropriate for the bond that was posted and paid in the
 Prior Case.

                                       Agreement

         To expedite the district court's adjudication of the coverage issue, the parties
 agree on the following procedure. Carpenter will file a motion for summary judgment
 on the coverage issue. Twin City's response is due 7 calendar days after the motion is
 filed. Any reply is due 7 calendar days after the response is filed. Within 3 calendar
 days after the close of briefing, the parties will jointly request a status conference and
 expedited ruling on the motion. The parties agree to file a joint motion to stay all
 1·emaining deadlines pending a ruling on the motion.

        If the district court wholly grants summary judgment in favor of Carpenter,
 the parties will jointly submit a proposed final judgment, or, if they cannot agTee on
 the form of the judgment, the parties will submit separate veTsions of a final
 judgment.

         By entering into this agreement Twin City does not waive, but expressly
 preserves, its right to appeal the order denying its motion for summary judgment,
 any order granting Carpenter's motion for summary judgment, and any resulting
 final judgment, the substance and content of which Twin City disagrees.

        By entering this agreement, Jeff Carpenter does not waive, and instead
 expressly preserves, his right to appeal any order dismissing [or granting judgment
 on] availability of punitive damages and injunctive relief.




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            Upon the entry of final judgment   in the Lawsuit, either party may pursue
  appeal.

  AGREED:

   TWIN CITY FIRE INSURANCE
   COMPANY




   Printed Name: _J_os_e_p_h_C_o
                          __
                          pp_o_la
                              ____      _


   Its: AVP - HGSFL




   Isl

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   Attorneys for Jeff Carpenter                    Attorneys for Twin City Fire Insurance
                                                   Company




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                                MARK GREENBERG
                       JUDGE, COUNTY COURT ATLAW#S

Larry Friedman/ Michael Donahue / Jason H. Friedman 214-346-4240
Amy Gibson/ David Wiley 214-522-2126
Brian Sanford 214-919-0113
Robert Gilbreath 214-780-5200

Re: Carpenter v. Southwest Housing, et al., Cause no. CC- 08-02072-E

       Attached is a courtesy copy of the court's judgment.

       Signed December 17, 2018.




   Geo. Allen Courts Building, 600 Commerce Street, Fifth Floor, Dallas, Texas 75202
                                     (214) 653-6441
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                           CAUSENo. CC-08-2072-E

  Jeffrey W. Carpenter,             §
                                    §
       Plaintiff,                   §
                                    §
  v.                                §     In the County Court
                                    §
 Southwest Housing                  §       of Dallas County
 Development Company, Inc.;         §
 Southwest Housing                  §          at Law N° 5
 Management Corporation,            §
 Inc. a/k/a and d/b/a Southwest     §
 Housing Management                 §
 Company, Inc.; Affordable          §
 Housing Construction, Inc.;        §
 Brian Potashnik; and               §
 Cheryl Potashnik n/k/a             §
 Cheryl Geiser,                     §
                                    §
       Defendants.                 §



                             FINAL JUDGMENT




       This case was called to jury trial on January 23, 2018. Jeffrey W.

 Carpenter appeared in person and through counsel and announced ready for

 trial. Brian Potashnik and Cheryl Potashnik n/k/a Cheryl Geiser appeared in

 person and through counsel and announced ready for trial. Southwest Housing

 Development Company, Inc., Southwest Housing Management Corporation,

 Inc. a/k/a and d/b/a Southwest Housing Management Company, Inc., and
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 Affordable Housing Construction, Inc. appeared through their representatives

  and through their counsel and announced ready for trial.


        Before jury trial, during a motions hearing, four counter-plaintiffs

 - Cheryl Potashnik n/k/a Cheryl Geiser, Brian Potashnik, Southwest Housing

 Development Company, Inc., and Affordable Housing Construction, Inc.

 - announced their intent to voluntarily dismiss all their counterclaims

 against Jeffrey W. Carpenter, which they originally filed on April 7, 2008. This

 dismissal was accomplished with the September 9, 2015 filing of Defendants'

 First Amended Answer and Defendant's First Amended Counterclaim Against

 Jeffrey W. Carpenter, in which only Southwest Housing fylanagement

 Corporation, Inc. a/k/a and d/b/a Southwest Housing Management Company,

 Inc. continued to pursue counterclaims.            Before jury trial, on the record,

 Southwest Housing Management Corporation, Inc. a/k/a and d/b/a Southwest

 Housing Management Company, Inc. dismissed with prejudice all remaining

 counterclaims against Jeffrey W. Carpenter.


       After close of evidence and before closing arguments in the jury trial, the

 Court granted the motion of Cheryl Potashnik n/k/a Cheryl Geiser for directed

 verdict on the claims against her. Cheryl Potashnik n/k/a Cheryl Geiser and

 Jeffrey W. Carpenter were each unsuccessful on the counterclaims and claims

 between them. As a result, no costs are awarded to Cheryl Potashnik n/k/a

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  Cheryl Geiser. The Court also finds good cause not to award costs to Cheryl

  Potashnik nfkfa Cheryl Geiser. First, Cheryl Potashnik n/k/a Cheryl Geiser

  and Jeffrey W. Carpenter were each unsuccessful on the counterclaims and

  claims between them.         Second, awarding costs to Cheryl Potashnik n/k/a

  Cheryl Geiser would, as a practical matter under the circumstances, burden

  Jeffrey W. Carpenter with paying shared defense costs for the four defendants

  against whom he was successful.            All defendants shared the same legal

  counsel. All defendants shared the same liability insurance carrier. With few

  exceptions, all defendants asserted the same defenses. For all oral depositions

 that 'Cheryl Potashnik       nfkfa   Cheryl Geiser initiated, all defendants jointly

 noticed and took those depositions. All defendants counted as one side - or

 one party - for purposes of paying for court-ordered mediations.


        A jury and one alternate juror, consisting of 7 citizens good and true,

 were empaneled and sworn and thereafter heard the admissible evidence.

 Having retained the original 6 jurors during the course of the trial, the Court

 dismissed the alternate juror before deliberations. The Court then submitted

 its Charge to the jury, which was followed by the closing arguments of the

 lawyers.    Thereafter, on February 1, 2018, the jury returned a five-to-one

 verdict in favor of Jeffrey W. Carpenter and against Brian Potashnik,

 Southwest     Housing      Development      Company, Inc., Southwest       Housing


 FINAL JUDGMENT CAUSE No. CC-08-2072-E-   PAGE 3 OF 7
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 Management        Corporation,     Inc.      a/k/a    and   d/b/a   Southwest     Housing

 Management Company, Inc., and Affordable Housing Construction, Inc. on

 certain claims. The Court then received and accepted the jury's verdict, which

 is incorporated by reference as if fully set forth herein.


        Before jury trial, all parties agreed to try to the Court the issue of

 attorneys' f~es under Texas Civil Practice and Remedies Code Chapter 38.

 That portion of the case was called to trial on November 15, 2018. Jeffrey W. •

 Carpenter appeared in person and through his counsel and announced ready

 for trial. Brian Potashnik, Southwest Housing Development Company, Inc.,

 Southwest Housing Management Corporation, Inc. a/k/a and d/b/a Southwest

 Housing Management Company, Inc., and Affordable Housing Construction,

 Inc. appeared through their counsel and announced ready for trial. The Court

 heard the admissible evidence and the arguments of counsel and took judicial

 notice as appropriate.       At the conclusion of the presentation,             the Court

 announced its ruling on the record, noting that a written judgment would

 follow.


       Having considered the verdict of the jury, the Court's ruling on attorneys'

 fees, the admissible evidence, the record in this case, the arguments of counsel,

 and the previous orders of the Court, it is hereby



 FINAL JUDGMENT CAUSE No. CC-08-2072-E   -   PAGE 4 OF 7
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         ORDERED, ADJUDGED and DECREED that Jeffrey W. Carpenter do

  have and recover of and from Brian Potashnik,               Southwest   Housing

  Development Company, Inc., Southwest Housing Management Corporation,

  Inc. a/k/a and d/b/a Southwest Housing Management Company, Inc., and

  Affordable Housing Construction, Inc., jointly and severally:

         a.     actual damages in the amount of $928,020.76;

         b.    prejudgment interest on actual damages [$928,020.76] at the rate
               of 5.25% per annum simple interest from March 11, 2008 through
               the day before the date of this Judgment;

         c.    reasonable attorneys' fees in the amount of $820,818.00 for the
               prosecution of this case through the day before the date of this
               Judgment for Plaintiff Jeffrey W. Carpenter's breach of contract
               claim against Defendants Brian Potashnik, Southwest Housing
               Development Company, Inc., Southwest Housing Management
               Corporation, Inc. a/k/a and d/b/a Southwest Housing Management
               Company, Inc., and Affordable Housing Construction, Inc.;

         d.    costs of court; and

        e.     postjudgment interest on all of the amounts above at the rate of
               5.25% per annum, compounded annually, from the date of this
               Judgment until the date this Judgment is satisfied.

        It is further ORDERED, ADJUDGED and DECREED, that if any

  defendant other than Defendant Cheryl Potashnik            n/k/a Cheryl Geiser

  unsuccessfully appeals this Judgment,          then Jeffrey W. Carpenter   shall

  additionally recover from such unsuccessful appealing defendant - or jointly

  and severally from such unsuccessful appealing defendants if more than one

  such defendant unsuccessfully appeals - the following amounts, representing

  FINAL JUDGMENT CAUSE No. CC-08-2072-E- PAGE 5 OF 7
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  conditional and reasonable attorneys' fees that would be incurred by Jeffrey

  W. Carpenter in any such appeal:


        a.      $86,625.00 for an appeal to the Dallas Court of Appeals,
                excluding oral argument and rehearing response;

        b.      an additional $9,900.00 for oral argument, if any, before the
                Dallas Court of Appeals;

        c.      an additional $9,900.00 for a response to a motion for
                rehearing, if the Dallas Court of Appeals requests that
                Jeffrey W. Carpenter file such a response;

        d.      an additional $32,175.00 for a petition for review or
                response to a petition for review filed with the Supreme
                Court of Texas;

        e.      an additional $37,125.00 for merits briefing, if the Supreme
                Court of Texas requests briefing on the merits;

        f.      an additional $14,850.00 for oral argument, if any, before
                the Supreme Court of Texas; and

        g.      an additional $7,425.00 for a response to a motion for
                rehearing, if the Supreme Court of Texas requests that
                Jeffrey W. Carpenter file such a response.


        All other relief requested by any individual or entity in this case and not

  specifically granted herein or previously disposed of is DENIED.


        This Judgment finally disposes of all parties and all claims and 1s

  appealable.




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         The Court OR_DERSexecution to issue for this Judgment.



         Signed this     11     day of     D t-C e A1 6 er      , 2018.




                                     Mark Greenberg              ~
                                     Judge, Dallas County Court at Law No. 5




  FINAL JUDGMENT CAUSE No. CC-08-2072-E-    PAGE 7 OF 7
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                                        CAUSENo. CC-08-2072-E

     Jeffrey W. Carpenter,                          §
                                                    §
          Judgment Creditor,                        §
                                                    §
     V.                                             §        In the County Court
                                                    §
     Southwest Housing                              §             at Law N° 5
     Development Company, Inc.;                     §
     Southwest Housing                              §        Dallas, County, Texas
     Management Corporation,                        §
     Inc. a/k/a and d/b/a Southwest                 §
     Housing Management                             §
     Company, Inc.; Affordable                      §
     Housing Construction, Inc.;                    §
     and Brian Potashnik,                           §
                                                    §
          Judgment Debtors.                         §



                           ORDER GRANTING AMENDED MOTION
                            FOR TURNOVER OF STOWERS CLAIM




          On   f/;or, '{   ~OJ   .:I-Odo/   , the Court held a hearing by submission on Jeff

     Carpenter's Amended Motion for a Turnover Order. Having considered the motion,

     the pleadings on file, the evidence, and argument presented at that hearing, the

     Court is of the opinion that this motion should be, and hereby is, GRANTED.


          The Court FINDS that (1) Jeff Carpenter is a judgment creditor of the Judgment

     Debtors listed above for the final judgment in this case; (2) the final judgment

     remains unsatisfied; (3) the Judgment Debtors own a cause of action or causes of

     action against their insurance carrier concerning liability for the final judgment in


                                                                                   cc-n-01012-E
                                                                                   COTO
                                                                                   ORDER
                                                                                       - TURIIOVER



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   this case; (4) the right to prosecute and recover on any such cause(s) of action cannot

   readily be attached or levied on by ordinary legal process and that right is not exempt

   under any statute from attachment, execution, or seizure; and (5) Judgment Debtors

   may have rights of access from their insurers, attorneys, and representatives                  to

   records and information and they should share those rights with Jeff Carpenter as a

   judgment creditor to aid in the evaluation and any prosecution of those claims.


          The Court is of the opinion that Jeff Carpenter is entitled to the right to have

   liquidated all common law causes of action Judgment Debtors may own under G. A.

   Stowers Furniture Co. v. American Indemnity Co., 15 S.W.2d 544 (Tex. Comm'n App.

   1929, holding approved) and its progeny, to see if they might satisfy, in whole or in

   part, the judgment in this case.         So, in aid of the judgment in this case, IT IS

   ORDERED, ADJUDGED AND DECREED that any claims Judgment Debtors own

   under Stowers arising out of or related to this case are immediately TURNED OVER

   to Judgment Creditor Jeff Carpenter.        This specifically includes, without limitation,

   those concerning Private Choice Encore! Policy number 00KB 0229269-07 that Twin

   City Fire Insurance Company issued.


          IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Judgment

   Creditor Jeff Carpenter      shall immediately have an equal right of access -                co-

   extensive to that held by each and every Judgment Debtor -                     to information and

   documents related to the above-referenced claims. This specifically includes, without

   limitation, information and documents from each and every of Judgment Debtors'




   ORDERGRANTING AMENDED MOTION FOR A TURNOVER OF STOWERS CLAIM -   PAGE 2 OF 3
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   individual insurers, attorneys, and representatives.              It also specifically includes,

   without limitation,      all insurance    claim files and evaluations            of coverage and

   communications between each and every Judgment Debtor and each and every of

   their insurers via their respective counsel. So, all current and former counsel for

   Judgment Debtors should immediately make all such information and documents

   equally available to Judgment Creditor Jeff Carpenter, via his counsel of record in

   this civil action, as they are available to any Judgment Debtor.


          IT IS FURTHER ORDERED that Jeff Carpenter is immediately GRANTED -

   a right co-extensive with Judgment Debtors to assert or waive the attorney-client

   privilege   and    any    work     product     exemption     arising      from    or   concerning

   communications to, from, or among Twin City Fire Insurance Company and any of

   its adjusters or their representatives,      agents, or attorneys, concerning this case.


          IT IS FURTHER ORDERED that this Order shall become effective on today's

   date. IT IS SO ORDERED this            'Jo    day of April, 2021, by




                                                       The Honorable Mark Green e g
                                                       Dallas County Court Judge




   ORDER GRANTING AMENDED MOTION FOR A TuRNOVER OF STOWERS CLAIM -   PAGE 3 OF 3
